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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MIA CRAGER, #300172
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     LUIS VALERIO MARTINEZ
6
7
                                  UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
      UNITED STATES OF AMERICA,              )     No. 2:19-cr-00003-JAM
10                                           )
                     Plaintiff,              )     STIPULATION AND ORDER TO CONTINUE
11                                           )     STATUS CONFERENCE
             v.                              )
12                                           )
      LUIS VALERIO MARTINEZ, et              )     DATE: September 24, 2019
13    al.,                                   )     TIME: 9:15 a.m.
                                             )     JUDGE: Hon. John A. Mendez
14                  Defendants.              )
                                             )
15
16          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17   Attorney, through Assistant United States Attorney Timothy H. Delgado, attorney for Plaintiff,
18   Federal Defender Heather E. Williams through Assistant Federal Defender Mia Crager, attorney

19   for Luis Valerio Martinez, and Michael Donald Long, attorney for Jose Arnulfo Alcala-Garcia
     that the status conference, currently scheduled for September 24, 2019, to be continued to
20
     November 5, 2019 at 09:15 a.m.
21
            The reason for the continuance is that counsel for defendants are still conducting legal
22   research and discussing possible resolutions with their client. In addition, counsel for Mr. Alcala-
23   Garcia is currently in trial in an attempted murder case in Sacramento County that is not
24   anticipated to conclude until late October.

25          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
     excluded of this order’s date through and including November 5, 2019; pursuant to 18 U.S.C.
26
     §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
27
     based upon continuity of counsel and defense preparation.
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1           Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.

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                                                   Respectfully submitted,
4    Dated: September 19, 2019                      HEATHER E. WILLIAMS
                                                    Federal Defender
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6                                                  /s/ Mia Crager
                                                   MIA CRAGER
7                                                  Assistant Federal Defender
                                                   Attorney for Defendant
8                                                  Luis Valerio Martinez
9    Dated: September 19, 2019                     /s/ Michael Donald Long
                                                   Attorney for Defendant
10                                                 Jose Arnulfo Alcala-Garcia
11
     Dated: September 19, 2019                     McGREGOR W. SCOTT
12                                                 United States Attorney
13                                                 /s/ Timothy H. Delgado
                                                   TIMOTHY H. DELGADO
14                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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1                                                  ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    November 5, 2019, shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered that the September 24, 2019 status conference shall be continued until
13   November 5, 2019, at 09:15 a.m.
14
15   Dated: September 20, 2019                              /s/ John A. Mendez____________
                                                            HON. JOHN A. MENDEZ
16                                                          United States District Court Judge
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